USCA Case #19-5222     Document #1847403              Filed: 06/16/2020     Page 1 of 19




             United States Court of Appeals
                     FOR THE DISTRICT OF COLUMBIA CIRCUIT



            Argued January 13, 2020                Decided June 16, 2020

                                    No. 19-5222

                             MERCK & CO., INC., ET AL.,
                                   APPELLEES

                                          v.

               UNITED STATES DEPARTMENT OF HEALTH AND HUMAN
                              SERVICES, ET AL.,
                                APPELLANTS


                     Appeal from the United States District Court
                             for the District of Columbia
                                 (No. 1:19-cv-01738)


                Ethan P. Davis, Principal Deputy Assistant Attorney
            General, U.S. Department of Justice, argued the cause for
            appellants. With him on the briefs were Scott R. McIntosh and
            Joshua Revesz, Attorneys, U.S. Department of Justice, and
            Robert P. Charrow, General Counsel, U.S. Department of
            Health and Human Services.

                Barbara Jones, William Alvarado Rivera, Kelly Bagby,
            and Maame Gyamfi were on the brief for amici curiae AARP
            and AARP Foundation in support of appellants and reversal.

                Richard P. Bress argued the cause for appellees. With him
            on the brief were Daniel Meron, Caroline A. Flynn, Gregory
USCA Case #19-5222    Document #1847403               Filed: 06/16/2020      Page 2 of 19




                                          2
            B. in den Berken, Robert Corn-Revere, Ronald G. London, and
            Annie M. Wilson.

                 Cory L. Andrews was on the brief for amicus curiae
            Washington Legal Foundation, et al. supporting appellees and
            affirmance.

                 Jeffrey S. Bucholtz, Joel McElvain, and Daryl L. Joseffer
            were on the brief for amicus curiae Chamber of Commerce of
            the United States of America in support of appellees and
            affirmance. Steven P. Lehotsky entered an appearance.

                 Kevin King, Rick Chessen, and Jared S. Sher were on the
            brief for amicus curiae NCTA – The Internet & Television
            Association in support of appellees and affirmance.

                 Stephen B. Kinnaird and Jerianne Timmerman were on the
            brief for amicus curiae National Association of Broadcasters
            in support of appellees and affirmance.

                 Sean Marotta and Ilya Shapiro were on the brief for
            amicus curiae the Cato Institute in support of appellees and
            affirmance.

                 Timothy Sandefur and Jonathan Riches were on the brief
            for amicus curiae Goldwater Institute in support of appellees
            and affirmance.

               Before: HENDERSON and MILLETT, Circuit Judges, and
            EDWARDS, Senior Circuit Judge.

                Opinion for the Court filed by Circuit Judge MILLETT.

               MILLETT, Circuit Judge: In May 2019, the United States
            Department of Health and Human Services’ Centers for
USCA Case #19-5222     Document #1847403               Filed: 06/16/2020       Page 3 of 19




                                           3
            Medicare and Medicaid Services published a rule that broadly
            requires drug manufacturers to disclose in their television
            advertisements the wholesale acquisition cost of many
            prescription drugs and biological products for which payment
            is available under Medicare or Medicaid. See Regulation to
            Require Drug Pricing Transparency, 84 Fed. Reg. 20,732
            (May 10, 2019) (“Disclosure Rule” or “Rule”). In the
            overwhelming majority of cases, the price that the Disclosure
            Rule compels manufacturers to disclose bears little
            resemblance to the price beneficiaries actually pay under the
            Medicare and Medicaid programs.

                 A number of drug manufacturers challenged the rule on
            statutory and constitutional grounds, and they prevailed in
            district court. We affirm. The Department acted unreasonably
            in construing its regulatory authority to include the imposition
            of a sweeping disclosure requirement that is largely untethered
            to the actual administration of the Medicare or Medicaid
            programs. Because there is no reasoned statutory basis for its
            far-flung reach and misaligned obligations, the Disclosure Rule
            is invalid and is hereby set aside.

                                           I

                                           A

                 The Social Security Act, 42 U.S.C. §§ 301–1397mm,
            created the Medicare and Medicaid programs. See id. §§ 1395–
            1395lll (Title XVIII of the Social Security Act); id. §§ 1396–
            1396w-5 (Title XIX of the Social Security Act). Medicare is
            “a nationwide, federally funded health insurance program for
            the elderly and individuals with disabilities.” Anna Jacques
            Hosp. v. Burwell, 797 F.3d 1155, 1156 (D.C. Cir. 2015).
            Medicaid “is a federal subsidy program that underwrites
            participating States’ provision of medical services to ‘families
            with dependent children and [to] aged, blind, or disabled
USCA Case #19-5222       Document #1847403             Filed: 06/16/2020      Page 4 of 19




                                            4
            individuals, whose income and resources are insufficient to
            meet the costs of necessary medical services.’” Salazar ex rel.
            Salazar v. District of Columbia, 896 F.3d 489, 492 (D.C. Cir.
            2018) (quoting Armstrong v. Exceptional Child Ctr., Inc., 135
            S. Ct. 1378, 1382 (2015)).

                 The Centers for Medicare and Medicaid Services
            (“Centers”) administer Medicare and “the federal side” of
            Medicaid, Ipsen Biopharmaceuticals, Inc. v. Azar, 943 F.3d
            953, 954 (D.C. Cir. 2019). See Anna Jacques Hosp., 797 F.3d
            at 1157.

                   This case involves two provisions of the Social Security
            Act.

                First, as relevant here, 42 U.S.C. § 1302(a) empowers the
            Secretary of Health and Human Services to “make and publish
            such rules and regulations, not inconsistent with [the Social
            Security Act], as may be necessary to the efficient
            administration of the functions with which [the Secretary] is
            charged” under the Medicare and Medicaid statutes. 42 U.S.C.
            § 1302(a).

                Second, 42 U.S.C. § 1395hh(a)(1) provides that the
            “Secretary shall prescribe such regulations as may be necessary
            to carry out the administration of the [Medicare] insurance
            programs[.]” 42 U.S.C. § 1395hh(a)(1).

                                            B

                 After undertaking the notice and comment process, the
            Centers published the Disclosure Rule in May 2019. See 84
            Fed. Reg. 20,732 (May 10, 2019). The Rule requires
            pharmaceutical manufacturers to disclose pricing information
            in all of their television advertisements for any prescription
            drugs or biological products “distributed in the United States
USCA Case #19-5222      Document #1847403                 Filed: 06/16/2020        Page 5 of 19




                                             5
            for which payment is available, directly or indirectly,” under
            Medicare or Medicaid. Id. at 20,732, 20,758 (codified at 42
            C.F.R. § 403.1200 (2019)); see id. at 20,735. Specifically,
            television advertisements for covered pharmaceuticals must
            include a textual statement disclosing “the current list price for
            a typical 30-day regimen or for a typical course of treatment[.]”
            Id. at 20,758 (codified at 42 C.F.R. § 403.1202). The only
            exception is for drugs with a list price of “less than $35 per
            month for a 30-day supply or typical course of treatment[.]” Id.
            at 20,732, 20,758 (codified at 42 C.F.R. § 403.1200).1

                 The Rule defines “[l]ist price” as “the wholesale
            acquisition cost” for the pharmaceutical. 84 Fed. Reg. at
            20,758 (codified at 42 C.F.R. § 403.1201(c)). “Wholesale
            acquisition cost” is, in turn, defined as “the manufacturer’s list
            price for the prescription drug or biological product to
            wholesalers or direct purchasers[,] * * * not including prompt
            pay or other discounts, rebates or reductions in price[.]” Id.
            (codified at 42 C.F.R. § 403.1201(d)). The Rule acknowledges
            that the price manufacturers must disclose “may be different”
            from what consumers actually pay. Id. (codified at 42 C.F.R.
            § 403.1202).

                The Disclosure Rule identifies 42 U.S.C. §§ 1302 and
            1395hh as the sources of authority for the obligations it
            imposes. 84 Fed. Reg. at 20,757. In the Department’s view,
            the Rule falls within those provisions because it “will improve
            the efficient administration of the Medicare and Medicaid
            programs by improving drug price transparency and informing

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                   The Disclosure Rule requires that the advertisements state in
            full: “The list price for a [30-day supply of] [typical course of
            treatment with] [name of prescription drug or biological product] is
            [insert list price]. If you have health insurance that covers drugs,
            your cost may be different.” 84 Fed. Reg. at 20,758 (codified at 42
            C.F.R. § 403.1202) (brackets in original).
USCA Case #19-5222      Document #1847403                 Filed: 06/16/2020        Page 6 of 19




                                             6
            consumer decision-making, both of which can increase price
            competition and slow the growth of federal spending on
            prescription drugs.” See id. at 20,732.

                                            C

                 On June 14, 2019, pharmaceutical manufacturers Merck &
            Co., Inc., Eli Lilly and Company, and Amgen Inc., as well as
            the Association of National Advertisers, Inc., (collectively,
            “Manufacturers”) filed suit challenging the lawfulness of the
            Disclosure Rule. They alleged that the Rule violates the
            Administrative Procedure Act (“APA”), 5 U.S.C. §§ 551 et
            seq., because it (i) exceeds the Department’s statutory
            authority, (ii) is arbitrary, capricious, an abuse of discretion, or
            otherwise not in accordance with law, and (iii) violates the First
            Amendment. The same day they filed their complaint, the
            Manufacturers moved to stay the Rule pending judicial review
            and to expedite proceedings on the motion to stay. The district
            court promptly granted the motion to expedite and held a
            hearing two weeks later.

                 On July 8, 2019, the day before the Rule was to go into
            effect, the district court granted the motion to stay based on the
            merits of the statutory APA arguments and entered an order
            vacating the Rule. See Merck & Co. v. HHS, 385 F. Supp. 3d
            81, 98 (D.D.C. 2019).

                 The district court ruled that neither Section 1302(a) nor
            Section 1395hh(a)(1) authorized the Department to impose the
            challenged disclosure requirement. Merck, 385 F. Supp. 3d at
            90–98. Quite the opposite, the district court concluded that,
            “when viewed as a whole, the [Social Security Act]
            unambiguously does not delegate to [the Department] the
            power to promulgate the [Disclosure Rule].” Id. at 92.
USCA Case #19-5222     Document #1847403                Filed: 06/16/2020       Page 7 of 19




                                           7
                 The district court held that both Sections 1302(a) and
            1395hh(a)(1) authorize the Secretary only to undertake the
            “administration” of the Medicare and Medicaid statutes.
            Merck, 385 F. Supp. 3d at 90. The court reasoned that those
            general grants of authority were limited “to establish[ing] rules
            and regulations for ‘running’ or ‘managing’ the federal public
            health insurance programs[.]” Id. The court concluded that the
            Rule exceeded that authority by regulating market actors (i.e.,
            pharmaceutical manufacturers) “that are not direct participants
            in the Medicare or Medicaid programs.” Id. at 90–91; see also
            id. at 94 (finding that the Rule “regulates primary conduct
            several steps removed from the heartland of [the Department’s]
            authority under the Social Security Act”) (internal quotation
            marks omitted).

                 The district court added that, usually when Congress
            authorizes an agency to regulate direct-to-consumer
            advertising of pharmaceutical products, it says so directly. In
            the court’s view, “Congress knows how to prescribe the content
            of drug advertising when it chooses to do so,” and it did not use
            such language in Section 1302(a) or Section 1395hh(a)(1).
            Merck, 385 F. Supp. 3d at 95–96.

                Finally, the district court emphasized that the Disclosure
            Rule “moves [the Department] into regulating the marketing of
            products that comprise ‘a significant portion of the American
            economy[,]’” and that Congress would not have authorized
            such sweeping and substantial regulatory power in a statutory
            provision that merely grants general administrative authority.
            Merck, 385 F. Supp. 3d at 97 (quoting FDA v. Brown &
            Williamson Tobacco Corp., 529 U.S. 120, 159 (2000)).
            Otherwise, the district court concluded, the Department could
            promulgate any rule “that might reasonably result in cost
            savings to the Medicare and Medicaid programs[.]” Id. at 98.
USCA Case #19-5222      Document #1847403                 Filed: 06/16/2020        Page 8 of 19




                                             8
                 Having concluded that the Disclosure Rule exceeds the
            Department’s statutory authority under the Social Security Act,
            the district court declined to reach the Manufacturers’ other
            challenges. Merck, 385 F. Supp. 3d at 84, 98.

               The Department timely filed a notice of appeal on
            August 21, 2019.

                                            II

                 The first question presented—and the only one we need to
            resolve—is whether the Secretary properly relied on
            Sections 1302(a) and 1395hh(a)(1) to enact the Disclosure
            Rule. See Louisiana Public Serv. Comm’n v. FCC, 476 U.S.
            355, 374 (1986) (“[A]n agency * * * has no power to act[] * * *
            unless and until Congress confers power upon it.”).

                 In answering that question, we review the district court’s
            interpretation of the Medicare and Medicaid statutes de novo.
            See Loving v. IRS, 742 F.3d 1013, 1016 (D.C. Cir. 2014). We
            approach that statutory interpretation task through the lens of
            Chevron U.S.A. Inc. v. Natural Resources Defense Council,
            Inc., 467 U.S. 837 (1984). That means that, at what is known
            as Chevron Step One, we apply ordinary tools of statutory
            construction to determine “whether Congress has directly
            spoken to the precise question at issue.” City of Arlington v.
            FCC, 569 U.S. 290, 296 (2013) (internal quotation marks
            omitted). If the statute resolves it, that is the end of the matter.
            We enforce the statute as Congress directs. Id. (Courts “must
            give effect to [this] unambiguously expressed intent[.]”). If,
            however, the statute is ambiguous on the question at hand, we
            proceed to Chevron Step Two. There, we will generally uphold
            the agency’s construction of the statute so long as it is a
            “reasonable interpretation.” See id.
USCA Case #19-5222     Document #1847403                Filed: 06/16/2020       Page 9 of 19




                                           9
                 The Department acknowledges that Chevron governs this
            case, but then argues that its regulation must be upheld if it is
            “reasonably related to the purposes of the enabling
            legislation[.]” Department Br. 22 (quoting Thorpe v. Housing
            Authority of the City of Durham, 393 U.S. 268, 280–281
            (1969)); see also Mourning v. Family Publications Serv., Inc.,
            411 U.S. 356, 369 (1973) (Where the empowering provision of
            a statute authorizes an agency to make “such rules and
            regulations as may be necessary to carry out the provisions of
            th[e] Act,” the Court will generally uphold regulations that are
            “reasonably related to the purposes of the enabling
            legislation.”) (internal quotation marks omitted).

                 Even assuming that there is material distance in this case
            between Mourning and Thorpe’s “reasonably related” test and
            the well-established Chevron Step Two reasonableness
            inquiry, the government overreads those pre-Chevron cases.
            Mourning and Thorpe do not “state[] a canon of statutory
            interpretation for general rulemaking provisions.” Colorado
            River Indian Tribes v. National Indian Gaming Comm’n, 466
            F.3d 134, 139 (D.C. Cir. 2006) (quoting Mourning, 411 U.S. at
            369).     Instead, in “determining whether the agency’s
            interpretation is permissible[,] * * * we must employ all the
            tools of statutory interpretation, including text, structure,
            purpose, and legislative history.” Loving, 742 F.3d at 1016
            (internal quotation marks omitted). After all, agencies are
            “bound, not only by the ultimate purposes Congress has
            selected, but by the means it has deemed appropriate, and
            prescribed, for the pursuit of those purposes.” Colorado River,
            466 F.3d at 139–140 (quoting MCI Telecomms. Corp. v. AT&T
            Co., 512 U.S. 218, 231 n.4 (1994)); see also Ragsdale v.
            Wolverine World Wide, Inc., 535 U.S. 81, 92 (2002)
            (explaining that Mourning does not authorize agencies to
            “contravene Congress’ will”).
USCA Case #19-5222      Document #1847403                Filed: 06/16/2020         Page 10 of 19




                                             10
                                            III

                  The district court ruled at Chevron Step One that the
             Medicare and Medicaid statutes unambiguously foreclose the
             Secretary from requiring price disclosures in consumer
             advertising. Merck, 385 F. Supp. 3d at 92 (“[W]hen viewed as
             a whole, the [Social Security Act] unambiguously does not
             delegate to [the Department] the power to promulgate the
             [Disclosure Rule].”); see also Manufacturers Br. 22–35. But
             we need not decide whether Sections 1302(a) and 1395hh(a)(1)
             unambiguously foreclose any regulation of pharmaceutical
             advertisements or price disclosure requirements.        Even
             assuming that the statutory provisions confer some relevant
             regulatory authority in those areas, the Disclosure Rule’s
             blunderbuss operation falls beyond any reasonable exercise of
             the Secretary’s statutorily assigned power.2

                 Recall that, as relevant here, Section 1302(a) directs the
             Secretary to “make and publish such rules and regulations, not
             inconsistent with [the Social Security Act], as may be
             necessary to the efficient administration of the functions with
             which [the Secretary] is charged under” the Medicare and
             Medicaid programs. 42 U.S.C. § 1302(a) (emphasis added).
             Similarly, Section 1395hh(a)(1) directs the Secretary to
             “prescribe such regulations as may be necessary to carry out
             the administration of the insurance programs under” the
             Medicare Act. Id. § 1395hh(a)(1) (emphasis added).

                 The Department argues that, under Chevron Step Two, it
             reasonably concluded that the Disclosure Rule is “necessary”

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                    Although the Manufacturers primarily advance their statutory
             construction arguments under Chevron Step One, they argue in the
             alternative that, “[f]or many of the same reasons, * * * [the
             Disclosure Rule] should fail at Chevron Step Two.” Manufacturers
             Br. 35 n.22.
USCA Case #19-5222     Document #1847403                 Filed: 06/16/2020        Page 11 of 19




                                            11
             to the “efficient administration” of the Medicare and Medicaid
             programs because the “price transparency” that it introduces
             will “improve the efficiency of Medicare and Medicaid
             programs by reducing wasteful and abusive increases in drug
             and biological product list prices[.]” Department Br. 22–25
             (quoting 84 Fed. Reg. at 20,733). In particular, the Secretary
             reasons, the Disclosure Rule will (i) incentivize manufacturers
             “to reduce their list prices by exposing overly costly drugs to
             public scrutiny,” thereby reducing program costs, and
             (ii) provide “consumers with more information to better
             position them as active and well-informed participants in their
             health care decision-making.” 84 Fed. Reg. at 20,733.

                 Neither of those arguments holds up. The Secretary’s
             administrative authority is undoubtedly broad. See Thorpe,
             393 U.S. at 277 n.28; see also National Welfare Rights Org. v.
             Mathews, 533 F.2d 637, 640 (D.C. Cir. 1976). But it is not
             boundless. To qualify as administering the Medicare or
             Medicaid statutes, a program of such intrusive regulation must
             do more than identify a hoped-for trickle-down effect on the
             regulated programs.

                  Instead, to fall within the Secretary’s regulatory authority,
             rules must be “necessary to the efficient administration of the
             functions with which [the Secretary] is charged[,]” 42 U.S.C.
             § 1302(a) (emphasis added), or “necessary to carry out the
             administration of the insurance programs under” the Medicare
             subchapter of the Social Security Act, id. § 1395hh(a)(1)
             (emphasis added). “[A]dministration” is the central focus of
             both definitions. When the Social Security Act was enacted in
             1935, this meant “the practical management and direction of”
USCA Case #19-5222      Document #1847403                   Filed: 06/16/2020          Page 12 of 19




                                               12
             its various programs (including eventually Medicare and
             Medicaid), as well as their “management” and “conduct.”3

                 So for a regulation to be “necessary” to the programs’
             “administration,” 42 U.S.C. §§ 1302(a), 1395hh(a)(1), the
             Secretary must demonstrate an actual and discernible nexus
             between the rule and the conduct or management of Medicare
             and Medicaid programs. The regulation’s operational focus
             must also be on those two programs, and the rule’s effect must
             be more than tangential. For example, the Secretary would be
             hard pressed to defend as necessary to program administration
             a rule forbidding vending machines or smoking breaks at

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                     Administration, BLACK’S LAW DICTIONARY 58 (3d ed. 1933)
             (“In public law. The administration of government means the
             practical management and direction of the executive department, or
             of the public machinery or functions, or of the operations of the
             various organs of the sovereign.”); Administration, WEBSTER’S NEW
             INTERNATIONAL DICTIONARY 34 (2d ed. 1941) (defs. 1a, 2)
             (defining “administration” as the “[a]ct or process of administering”
             or “[t]he managing or conduct of an office or employment; the
             performance of the executive duties of an institution, business, or the
             like”).

                  The term had essentially the same meaning in 1965 when
             Section 1395hh(a)(1) was enacted. See Administration, BLACK’S
             LAW DICTIONARY 65 (4th ed. 1951) (defining “administration” as
             the “[m]anaging or conduct of an office or employment”); id. (“In
             public law, the administration of government means the practical
             management and direction of the executive department, or of the
             public machinery or functions, or of the operations of the various
             organs of the sovereign[.]”); see also Administration, THE OXFORD
             ENGLISH DICTIONARY 163 (2d ed. 1989) (defs. 3, 4) (defining
             “administration” as “management” of either business or public
             affairs, relying on historical usage dating back to the Fourteenth
             Century).
USCA Case #19-5222      Document #1847403                Filed: 06/16/2020         Page 13 of 19




                                             13
             businesses that employ Medicare or Medicaid recipients just
             because those measures could promote healthier living and
             thereby reduce program costs. In other words, the further a
             regulation strays from truly facilitating the “administration” of
             the Secretary’s duties, the less likely it is to fall within the
             statutory grant of authority.

                The Disclosure Rule strays far off the path of
             administration for four reasons.

                  First, disclosure of a pharmaceutical’s “list price”—its
             wholesale acquisition cost, 84 Fed. Reg. at 20,758—bears little
             meaningful relationship to the price that either the federal
             government or Medicare and Medicaid beneficiaries pay for
             drugs. The Department conceded at oral argument that
             reimbursement under Medicare Part B “in most cases” is tied
             “to the average sales price of [a] drug” rather than to the
             wholesale acquisition cost. Oral Arg. Tr. 5:3–7. Occasionally,
             cost-sharing prices might also be “based on” the wholesale
             acquisition cost, but that is the exception rather than the rule.
             See 84 Fed. Reg. at 20,740; cf. Oral Arg. Tr. 6:4–20, 19:2–4
             (asserting that, when there is no “established [average sales
             price,]” Part B reimbursements “can be” based on the
             wholesale acquisition cost).

                  The amount that Medicare beneficiaries pay under Part B
             is even further removed from the wholesale acquisition cost.
             As of 2019, Part B beneficiaries’ annual deductible was only
             $185. Oral Arg. Tr. 19:20–21.4 Once their deductibles are met,
             beneficiaries typically pay 20 percent coinsurance for
             prescription pharmaceuticals. Oral Arg. Tr. 19:20–20:12; see

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                   See also Disclosure Rule, 84 Fed. Reg. at 20,740; Centers for
             Medicare & Medicaid Services, 2019 Medicare Parts A & B
             Premiums and Deductibles, https://www.cms.gov/newsroom/fact-
             sheets/2019-medicare-parts-b-premiums-and-deductibles.
USCA Case #19-5222     Document #1847403                Filed: 06/16/2020        Page 14 of 19




                                            14
             also Disclosure Rule, 84 Fed. Reg. at 20,740. Therefore, even
             in the limited circumstances where the wholesale acquisition
             cost comes into play, consumers often are shielded from paying
             that amount. Moreover, the Rule did not rest on any finding
             that Medicare consumers are generally aware of how their
             payments are computed in relationship to the wholesale
             acquisition cost.

                  The Department also admitted that, under Medicare
             Part D, insurance plans typically do not pay the full wholesale
             acquisition cost. Rather, plan administrators and pharmacies
             actively negotiate over the appropriate price. See Oral Arg. Tr.
             7:4–7. And again, beneficiaries typically pay only a fraction of
             this negotiated price, either in the form of a copay or
             coinsurance.5

                  The Secretary nonetheless insists that the wholesale
             acquisition cost is closely connected to the price Medicare
             participants pay, explaining that Part D beneficiaries who are
             responsible for coinsurance “effectively pay[] a percentage of
             a metric that is closely related” to the wholesale acquisition
             cost. Oral Arg. Tr. 7:9–12. But to state that what some
             Medicare beneficiaries pay is at best three steps removed from
             the disclosed wholesale acquisition cost only highlights the



                 5
                     See Juliette Cubanski et al., Kaiser Family Foundation,
             Medicare Part D in 2018: The Latest on Enrollment, Premiums, and
             Cost Sharing, figure 9 (May 17, 2018), https://www.kff.org
             /medicare/issue-brief/medicare-part-d-in-2018-the-latest-on-
             enrollment-premiums-and-cost-sharing; Juliette Cubanski et al.,
             Kaiser Family Foundation, Medicare Part D: A First Look at
             Prescription Drug Plans in 2019 (Oct. 16, 2018),
             https://www.kff.org/medicare/issue-brief/medicare-part-d-a-first-
             look-at-prescription-drug-plans-in-2019.
USCA Case #19-5222      Document #1847403                 Filed: 06/16/2020         Page 15 of 19




                                             15
             gulf between the Disclosure Rule and the actual operation of
             the Medicare program.

                  The relationship between wholesale acquisition cost and
             Medicaid is also quite attenuated. Under Medicaid, States
             develop plans to implement the Medicaid statute and to provide
             healthcare services to covered populations, subject to the
             Secretary’s approval. 42 U.S.C. § 1396a(a), (b). At oral
             argument, the Department explained that each plan establishes
             the applicable drug prices to be paid under Medicaid in that
             State. Oral Arg. Tr. 16:1–8. When pressed, the Department
             said that it was unaware of any State that had adopted the
             wholesale acquisition cost as the applicable price, and that it
             was “unlikely” any had. Oral Arg. Tr. 16:9–15. Moreover, the
             Manufacturers note—and the Department does not contest—
             that the vast majority of Medicaid beneficiaries pay at most a
             nominal copayment for prescription drugs. See J.A. 250; see
             also Oral Arg. Tr. 59:8–24. And, again, the Secretary made no
             finding that Medicaid consumers were generally aware of any
             relationship between what they pay and the wholesale
             acquisition cost.

                  To be sure, the Secretary determined that “some
             consumers” will find that their coinsurance payments “increase
             as the [wholesale acquisition cost] increases.” Disclosure Rule,
             84 Fed. Reg. at 20,733 (emphasis added). That is so, the
             Secretary said, because patients will often pay either the
             wholesale acquisition cost or a cost-sharing amount of that
             price “when drugs are purchased early in the year before a
             deductible has been met, or during the plan year when
             coinsurance applies, or at any time when a drug is not covered
             by insurance[.]” Id. at 20,740. But it is not at all clear that this
             point specifically refers to Medicare or Medicaid consumers,
             as opposed to medical consumers generally. See id. at 20,740
             (“A drug’s [wholesale acquisition cost] has relevance as a
USCA Case #19-5222     Document #1847403                Filed: 06/16/2020        Page 16 of 19




                                            16
             benchmark in both federal and commercial health care
             programs.”) (emphasis added).

                  In any event, the Secretary’s “either” reference again fails
             to show that any substantial number of Medicare or Medicaid
             consumers would pay the wholesale acquisition cost, or would
             even understand the relationship between what they pay and
             the price the Rule orders disclosed. In fact, the Centers
             admitted at oral argument that the wholesale acquisition cost is
             “a price that’s rarely paid[.]” Oral Arg. Tr. 39:1. On this
             record, it is difficult to see how requiring the disclosure of
             wholesale acquisition cost to consumers generally promotes
             price transparency in any material way, or how it is otherwise
             related to the “administration” of either Medicare of Medicaid.

                  Second, similarly attenuated is the Secretary’s claim that
             disclosure of the wholesale acquisition cost “may inform”
             consumers’ “critical health care decisions related to their
             treatment with prescription drugs or biological products[.]”
             Disclosure Rule, 84 Fed. Reg. at 20,733 (emphasis added).

                 For starters, the Rule again leaves unclear if this point is
             aimed at Medicare and Medicaid consumers, or consumers
             generally. See 84 Fed. Reg. at 20,740. If the latter, as the
             Federal Register suggests, that would underscore the Rule’s
             administrative overreach.

                  Anyhow, while agencies often can regulate based on
             educated judgments about probabilistic outcomes, that is not
             what is going on here. “May[be]” informing consumers about
             a price that Medicaid and Medicare customers will almost
             never pay, and that they are unlikely to understand, unlashes
             the disclosure from its claimed administrative mooring.

                  Worse still, the Secretary candidly acknowledged that the
             disclosure could just as well backfire.        “[C]onsumers,
USCA Case #19-5222     Document #1847403               Filed: 06/16/2020        Page 17 of 19




                                           17
             intimidated and confused by high list prices, may be deterred
             from contacting their physicians about drugs or medical
             conditions[,]” and may be “discourage[d] * * * from using
             beneficial medications.” Disclosure Rule, 84 Fed. Reg. at
             20,756. That, in turn, could “potentially increase [the] total
             cost of care” under the Medicare and Medicaid programs. Id.
             The Secretary also admitted a “lack [of] data to quantify these
             effects.” Id. Generating potentially harmful confusion through
             disclosures to the general public of information that is largely
             disconnected from Medicare and Medicaid pricing is not a
             plausible means of administering the programs.

                  Third, the Disclosure Rule regulates advertising directed
             at the general public and not communications targeted
             specifically, or even predominantly, to Medicare or Medicaid
             recipients. See 84 Fed. Reg. at 20,732, 20, 758. That further
             increases the distance between the Disclosure Rule and any
             actual administration of those programs. Standing alone, that
             factor might not foreclose the Secretary’s interpretation of his
             authority, but it opens another fissure between the required
             disclosure and the programs’ administration, particularly when
             combined with the marginal relevance of the wholesale
             acquisition cost in the first place.

                  Fourth, and finally, the sweeping “nature and scope of the
             authority being claimed by the” Department underscores the
             unreasonableness of the Department’s claim that it is just
             engaged in general “administration.” Loving, 742 F.3d at 1021.
             As the Supreme Court has explained, “courts should not lightly
             presume congressional intent to implicitly delegate decisions
             of major economic or political significance to agencies.” Id.
             (citing Brown & Williamson, 529 U.S. at 160); see also Utility
             Air Regulatory Grp. v. EPA, 134 S. Ct. 2427, 2444 (2014)
             (“When an agency claims to discover in a long-extant statute
             an unheralded power to regulate ‘a significant portion of the
USCA Case #19-5222     Document #1847403               Filed: 06/16/2020        Page 18 of 19




                                           18
             American economy,’ we typically greet its announcement with
             a measure of skepticism.”) (citation omitted) (quoting Brown
             & Williamson, 529 U.S. at 159–160).

                  The Department’s construction of the statute would seem
             to give it unbridled power to promulgate any regulation with
             respect to drug manufacturers that would have the arguable
             effect of driving down drug prices—or even healthcare costs
             generally—based on nothing more than their potential salutary
             financial benefits for the Medicare or Medicaid program. This
             suggests a staggering delegation of power, far removed from
             ordinary administration. Could the Department dictate salaries
             at pharmaceutical companies that make or sell products “for
             which payment is available, directly or indirectly, under”
             Medicare or Medicaid, 84 Fed. Reg. at 20,758? Could it
             superintend pharmaceutical companies’ business operations to
             cut costs? Surely not. But the Department’s reasoning
             suggests that such regulations would be fair game as long as
             they ultimately resulted—even indirectly—in reduced
             Medicare or Medicaid expenditures or increased price
             competition.

                  The Department counters that this rule is not of major
             significance because compliance costs would be low. But that
             is hardly the only measure of significance. The Disclosure
             Rule at least implicates a substantial constitutional question
             concerning the government’s authority to regulate the public
             speech of companies just because some percentage of the
             audience is involved in a governmental program from which
             the businesses indirectly derive financial benefit. See AFL-
             CIO v. FEC, 333 F.3d 168, 179–180 (D.C. Cir. 2003) (striking
             down the agency’s construction under Chevron Step Two
             because the agency’s approach raised “serious constitutional
             difficulties”) (internal quotation marks omitted); id. (agency’s
             construction was “properly addressed at Chevron [S]tep
USCA Case #19-5222     Document #1847403                Filed: 06/16/2020        Page 19 of 19




                                            19
             [T]wo” because the statute was subject to “more than one
             constitutionally permissible interpretation”).

                  In any event, the breadth of the Secretary’s asserted
             authority is measured not only by the specific application at
             issue, but also by the implications of the authority claimed. See
             Gonzales v. Oregon, 546 U.S. 243, 248–249, 267–268 (2006)
             (rejecting the argument that Congress implicitly delegated the
             authority to “prohibit doctors from prescribing regulated drugs
             for use in physician-assisted suicide” in part because, under the
             Government’s theory, the Attorney General would have broad
             power to “decide whether any particular drug may be used for
             any particular purpose,” and whether “a physician who
             administers any controversial treatment could be” punished)
             (emphasis added).

                  In closing, we emphasize that nothing in this opinion holds
             that the Secretary is categorically foreclosed from regulating
             pharmaceutical advertisements. We leave that question for
             another day and hold only that no reasonable reading of the
             Department’s general administrative authority allows the
             Secretary to command the disclosure to the public at large of
             pricing information that bears at best a tenuous, confusing, and
             potentially harmful relationship to the Medicare and Medicaid
             programs. Although the Secretary’s regulatory authority is
             broad, it does not allow him to move the goalposts to wherever
             he kicks the ball.

                                            IV

                 For the foregoing reasons, we affirm the district court’s
             judgment vacating the Rule.

                                                                 So ordered.
